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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Northern District of New York

 

 

 

United States of America )
v. )
PHILIP GURIAN and MICHELE LASSO, a/k/a ) Case Nog?13-MJ- 14s (RFT)
MICHELE MARIE LASSO-BARRAZA )
)
)
Defendant(s)

CRIMINAL COMPLAINT

1, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

 

On or about the date(s) of _ January 1, 2009 through present ___ in the county of Saratoga in the
Northern District of _N.Y., and elsewhere __, the defendant(s) violated:
Code Section Offense Description
Title 18 United States Code, Conspiracy to Launder Monetary Instruments

Sections 1956(a)(1)(B)(i), and 1956
h).

This criminal complaint is based on these facts:

& Continued on the attached sheet.

Complainant's signature

Theresa M. Allison, Special Agent, IRS
Printed name and title

Sworn to before me and signed in my presence.

Date: 04/03/2013

 

City and state: Albany, New York Hon. Randolph F. Treece, U.S. Magistrate Judge

Printed name and title
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

|, Theresa M. Allison, Affiant, being duly sworn, hereby depose and say that:

1. | am a Special Agent with the Internal Revenue Service, Criminal Investigation
Division, (“IRS-Cl’), United States Department of the Treasury, and have been so
employed for over seven (7) years. | am currently assigned to the New York
Field Office, Albany, New York Post of Duty. As a Special Agent, | am
responsible for investigating criminal violations of the Internal Revenue Code
(Title 26, United States Code), the Bank Secrecy Act (Title 31, United States
Code), the Money Laundering Control Act (Title 18, United States Code), and
related offenses. | have received specialized training in the investigation of white
collar crimes and have been involved in the investigation of various financial
crimes, fraudulent schemes, money laundering, tax evasion, failure to file, and
conspiracy, among other offenses.

2. Most of the information in this affidavit is drawn from the investigation,
observations, and experience of your Affiant and other law enforcement officers
participating in the investigation, many of whom have experience investigating
Organized Criminal Enterprises. The statements contained in this affidavit are
based, in part, on information directly known to your Affiant as well as information
provided by other law enforcement officers participating in the investigation,
either directly or indirectly through their reports, and surveillance conducted by
law enforcement officers, or other information gathered by the analysis of
telephone toll records or analysis of IP addresses obtained via Pen Register.
Unless otherwise stated, the following is based on information and belief, the
source of my information and the basis for my belief being firsthand information
acquired as a result of my personal participation in this investigation, which
means that | have observed some of the activity in question, and that | have
received first-hand and reliable information from other law enforcement officials
as part of and in furtherance of the investigation. Specifically, this investigation is
being conducted by your Affiant along with Special Agent TJ Roberts, Federal
Bureau of Investigation (FBI), Investigators from the Albany County Sheriff's
Office (ACSO), and the Broward County Sheriff's Office, Money Laundering Task
Force (BCSOMLTF).

3. Because this Complaint is being submitted for the limited purpose of establishing
probable cause, it does not include every fact that | have learned during the
course of the investigation. Where the content of documents and the actions,
statements, and conversations of others are reported herein, they are reported in
substance and in part, except where otherwise indicated.
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SUMMARY OF PROBABLE CAUSE

4. Based on the facts described below, there is probable cause to believe that:

a. During the years 2009 through present, PHILIP GURIAN (Gurian) and
MICHELE LASSO (Lasso) a/k/a MICHELE MARIE LASSO-BARRAZA
(Lopez), did knowingly and willfully conspire and agree with each other
and with others to conduct financial transactions knowing that they
involved the proceeds of a specified unlawful activity, specifically the
conducting of an illegal gambling business, in violation of Title 18, United
States Code, Section 1955, among others, and knowing that the
transactions were designed in whole and in part to conceal and disguise
the nature, location, source, ownership, and control of property that was
the proceeds of specified unlawful activity, contrary to Title 18, United
States Code, Section 1956(a)(1)(B)(i) all in violation of Title 18, United
States Code, Section 1956(h).

ILLEGAL GAMBLING ENTERPRISE

5. Evidence obtained in this investigation has determined that Gurian is alleged to

be a “master agent” who turns over a portion of his illegal gambling proceeds to
owners of websites in exchange for the use of the internet websites. As used by
this criminal organization, the term “agent” has the same connotation as the
traditional term of “bookie” or “bookmaker.”

. We have discovered that Gurian is using multiple accounts/websites
(approximately 40-50) to place bets/wagers on a side and total of a sporting
event to off-set the betting line(s), using a computer (auto bettor) with software
that helps Gurian to place approximately 40-50 bets on one team at the same
time. Conversations intercepted pursuant to wiretap orders issued in the
Northern District of New York between October and December of 2012
demonstrate that Gurian, by his own admission, amassed approximately
$150,000 dollars per day through his illegal gambling operation. Gurian has
more than five individuals working for him in the illegal gambling operation from
Texas, California, Boston, New York, New Hampshire, Nevada, Indiana, Kansas,
_ Las Vegas, Florida, UK, Mexico, Panama, Holland, Jamaica and Russia.

. Lasso is alleged to work for Gurian. She is a citizen of Panama and has a
visa/passport that permits her to travel to and from Panama and the United
States. Communications between Gurian and Lasso have been intercepted
pursuant to wiretap orders issued in the Northern District of New York that
demonstrate that Lasso transferred money representing proceeds of illegal
gambling activity for Gurian from the United States to Panama and elsewhere. In
one of the intercepted conversations between Gurian and Lasso, Lasso
informed Gurian that she tried to move/wire four (4) million dollars from a Bank
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located in Panama to another Bank. She controls the bank accounts, credit
cards and wire transfers for Gurian in his illegal gambling operation.

INTERCEPTED COMMUNICATIONS

. October 11, 2012 intercepted conversation between Gurian and Lasso (call
number 295), Lasso informed Gurian about how she tried to move/wire four (4)
million dollars from 365, believed to be bet365.com, to a bank in Panama.
Additionally, in this call Lasso indicates that 365 is not going to send it to LARIS,
i.e. LARIS SA, an alleged front business:

LASSO: HI

GURIAN: HI

LASSO: DID YOU RECEIVE THE MESSAGE | SENT EARLIER
ABOUT 365?

GURIAN: WE ALREADY TALKED TO THE GUY

LASSO: NO, HE.. HE EMAILED ME THIS MORNING AND HE SAID
THAT THEY WERE.. THEY’RE NOT GONNA SEND IT TO LARRIS
THERE THE ONLY THE ONLY ACCOUNTS HE’S GONNA SEND TO US
ONLY TWO ACCOUNTS THAT WE SENT MONEY FROM. SO THAT
MEANS THAT | ONLY HAVE ONE BANK TO SEND 4 MILLION
DOLLARS TOO.. UGHHH

GURIAN: — HE SAID.. HE SAID, YOU CAN ONLY SEND THEM TO
ONE BANK?

LASSO: HE SAID.. HE SAID.. THIS IS WHAT HE SAID.. ONE
SECOND.. HE SAID, THE FUNDS WITHDRAWN.. UH TO THE
(UNINTELLIGIBLE) OK WAIT.. UMM CAUSE HE SAID, OK HE SAID WE
WERE WAITING FOR APPROVAL BUT UNFORTUNATELY WE HAVE
REVIEWED AND DECLINED YOUR REQUEST FOR THE FUND TO BE
WITHDRAWN TO THE DETAIL YOU HAVE PROVIDED... THEY HAVE
HOWEVER INFORMED ME FOR THIS WITHDRAWAL THE FUNDS
WILL HAVE TO BE SENT TO ONE OF THE TWO ACCOUNTS.. ONE OF
THE ACCOUNTS WE HAVE PREVIOUSLY SENT FUNDS OR
RECEIVED FUNDS FROM.. THEY ARE BANCO (UNINTELLIGIBLE)
AND BANCO PANAMA.. AND BANO (UNINTELLIGIBLE) DOES NOT
WANT THE MONEY SO | ONLY HAVE BANCO PANAMA TO SEND IT
TO.. SO | TOLD THEM WELL I’LL SEND $100,000 TO MY CREDIT
CARD THEN TO SEE HOW THAT GOES.. BUT WE'RE NOT GONNA |!
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MEAN AND BARB | MEAN THEY'RE NEVER GONNA TAKE 4 MILLION
ON A CREDIT CARD SO.. REALLY WHAT WE ARE GONNA HAVE TO
DO IS JUST SEND IT TO THAT BANK SO | ASKED FOR A STATEMENT
AND MAYBE IF | PROVIDE THAT COMPLIANCE FROM THE BANK
WITH THE PAYMENT THEY'LL RECEIVE ALL THE MONEY BUT.. |
DON’T KNOW.

9. Lasso currently resides at 1655 N. Federal Highway, Delray Beach, Florida. The
Quit Claim Deed filed in Palm Beach County, Florida on January 5, 2010 lists
Laris, S.A., a Panama company, as the owner. Another filing lists the president
of Laris, S.A. as Lasso. In addition to LARIS, SA, Lasso has at least two other
front companies identified during the investigation, Nigel Holdings, Inc. and Nigel
Holdings S.A. The designation of S.A. in Panama usually indicates Anonymous
Society which is akin to “Inc.” for businesses registered in the United States. The
Florida Department of State, Division of Corporations records obtained through
www.Sunbiz.org indicate that Lasso is the president of Nigel Holdings, Inc. and
that the business address is located at 550 Golden Harbour Drive, Boca Raton,
Florida which is Gurian’s home address. On the same records, Nigel Holdings
S.A. is listed as the VP or Vice President of Nigel Holdings, Inc. and has an
address of 550 Golden Harbour Drive, Boca Raton, Florida.

10. It is evident from a conversation between Gurian and Lasso five days later, on
October, 16, 2012, in which they continue to discuss moving the funds, that
Gurian and Lasso use Skype's chat features to communicate regarding moving
illegal gambling proceeds. Based on my training and experience, | am aware that
Skype is used by those engaged in criminal activity because they believe that
Skype is immune from detection by law enforcement. They also discuss in part,
wire transfers to the Cayman Islands and Andorra, sending money from 365 (i.e.,
Bet365.com, a gambling website) to Panama, and wiring instructions found on
Gurian’s computer. The following is a substantial part of that conversation and
outlines Lasso and Gurian’s relationship:

GURIAN: HELLO, YOU ARE GOING TO HAVE TO COME BACK SOMETIME
TOMORROW

LASSO: WHAT!!!

GURIAN: YOU’RE TAKING, YOU'RE, YOU’RE..I..1..CAN’T, | CAN’T STAND
THIS M.LA. STUFF, ITS NOT

LASSO: M.I.A... MON MY PHONE
GURIAN: MISSING IN ACTION
LASSO: AND | HAVEN'T EVEN, | HAVEN'T IT’S BEEN TWO DAYS
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GURIAN: WELL, YOU ARE GOING TO HAVE TO CUT YOUR TRIP SHORT,
BECAUSE THIS IS NOT PROPER, YOU’RE HOLDING

LASSO: WELL, IT’S NOT HAPPENING BECAUSE I’M WORKING HARD
HERE.. SO HERE’S THE DEAL BET 365 SAYS THAT THEY ARE GOING TO
SEND 300 AND THEY WANT TO SEND 300 MORE THOUSAND TO BANCO
(UNINTELLIGIBLE) “PANAMA BANK” AND THEN THEY CAN SEND
ANYWHERE | WANT, IN PANAMA.. SO, | HAD TO OPEN A NEW ACCOUNT IN
BANCO (UNINTELLIGIBLE) BECAUSE | CAN'T GO TO THAT THAT LADY
THAT ALWAYS LIKE JUST DOESN'T WANT TO TAKE MY MONEY
ANYMORE.. SO | HAD TO OPEN UP ANOTHER ONE IN ANOTHER BRANCH
AND THEY SAID THAT | NEED A LETTER FROM 365 SAYING THAT THEY'RE
GOING TO SEND THE FUNDS BACK AS LIKE RETURN OF CAPITAL OR
WHATEVER THE HELL IT IS AND SO ONCE | GET THAT LETTER THEN |
CAN RECEIVE THOSE FUNDS THERE. AND THEN WE CAN SEND
WHEREVER WE WANT, IN PANAMA..

GURIAN: ALRIGHT

LASSO: SO | WROTE TO 365 AND I’M WAITING FOR THAT LETTER SO |
CAN THAT WIRE TRANSFER AND THEN I'M GONNA HAVE $300,000 MORE
DOLLARS HERE IN MY ACCOUNT.. TO SPEND FREELY.. OH AND YOU
KNOW AND IT’S GONNA STAY THERE BY THE WAY THE RATE IS 2.75 A
YEAR.. | GUESS A LITTLE BIT LESS FOR 6 MONTHS..

GURIAN: AND THEN WHAT ABOUT THE REST OF IT?

LASSO: THEN WE HAVE TO FIGURE THAT OUT.. PHILL, IT'S BEEN TWO
DAYS | CAN’T ACCOMPLISH THE WORLD IN TWO DAYS

GURIAN: MY FIRST CLASS TICKET | COULD RIP UP
LASSO: (LAUGHS)

GURIAN: ALL | DID IS PAY FOR YOU TO HAVE A FIGHT WITH YOUR
BEAUTY.. HAIR DRESSER

LASSO: NO I’VE BEEN WORKING HARD, IT’S A PROCESS.. I'M GETTING A
CALL I'LL TALK TO YOU LATER

GURIAN: WAIT WAIT, WAIT WAIT..

LASSO: WHAT (LAUGHS) WHAT WHAT (LAUGHS)

GURIAN: S & J.. S & J WIRING HOW ABOUT..

LASSO: WHAT, DID YOU SEND THE WIRE INSTRUCTIONS?
GURIAN: YES.. HOW ABOUT..
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LASSO: NO, | HAVEN'T SEEN (UNINTELLIGIBLE) AND I'M ON MY WAY TOA
DOCTORS APPOINTMENT SO I'LL SEND

GURIAN: EMAIL.. HEY, EMAIL TO NOAH YOUR WIRING INSTRUCTIONS.. HE
NEEDS THE WIRING INSTRUCTIONS

LASSO: WHAT, | GAVE THEM TO YOU YESTERDAY
GURIAN: WHERE? |

LASSO: ON SKYPE!

GURIAN: AHH..

LASSO: COPY AND PASTE THEM.. DO SOMETHING.. TALK TO YOU LATER
GURIAN: | DON’T SEE THAT HERE

LASSO: WELL.. LOOK FOR IT

GURIAN: NO THE EMAIL FOR CAYMAN..

LASSO: OH WELL WHY DID YOU ASK FOR ANDORA?

GURIAN: | DIDN'T, | ASKED YOU FOR CAYMAN.. | SAID

LASSO: YOU ASKED FOR ANDORA.. IT’S ON SKYPE

GURIAN: | NEED CAYMAN

LASSO: WELL, AREN'T THEY ON A POSTED ON YOUR DESK TOP?
GURIAN: UGH.. NOT ANYMORE.. SOMEBODY PULLED IT OFF

LASSO: NO! NO IT WAS THERE SO YOU BETTER FIND OUT HOW TO GET
IT BACK BECAUSE | LEFT IT THERE FOR A PURPOSE

GURIAN: IT’S NOT HERE.. | CAN'T FIND IT

LASSO: UGH.. I'LL TALK TO YOU LATER.. THIS IS TO STRESSFUL... | HAVE
A DOCTORS APPOINTMENT TO ATTEND TO

GURIAN: HOW DO | GET IT? HOW DO | FIND IT?

LASSO: FIRST OF ALL IF YOU LOOK IN YOUR EMAIL AND IF YOU LOOK
FOR NIGEL HOLDINGS YOU’RE GONNA FIND THEM LIKE SEVEN EMAILS
HAVING THOSE WIRING INSTRUCTIONS

GURIAN: OK
LASSO: THAT’S ONE WAY OF GETTING THEM
11.

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GURIAN: STAY IN TOUCH PLEASE, YOUR PHONE DOESN’T WORK THERE..
YOUR CELL PHONE DOESN’T WORK THERE..

LASSO: YES IT DOES.. IT’S ON
(UNINTELLIGIBLE)

LASSO: NO, | HAVE IT.. YESTERDAY YOU CALLED THREE TIMES AND |
WAS ON THE PHONE.. | MEAN

GURIAN: UH HUH.. THAT’S WHY YOUR BLOCKING ME YOU HAVE A NEW
FEATURE THERE THAT’S LIKE BLOCKING ME

LASSO: I'M NOT BLOCKING YOU, | WAS JUST ON THE PHONE.. IF I'M ON
THE PHONE YOU CAN'T CALL BUT IF ’'M NOT ON THE PHONE YOU CAN
CALL THAT’S HOW IT WORKS WITH THESE THIRD WORLD PHONES

GURIAN: WELL, WHAT ABOUT A PHONE CALL BACK..

LASSO: UGH.. WELL YOU KNOW WHAT ID DIDN'T GET IT BECAUSE |
WASN'T OFF THE PHONE TO CALL YOU BACK BEFORE YOU STARTED
CALLING AGAIN

GURIAN: WHEN CAN | GET BACK TO PANAMA

LASSO: WELL, SOON I’M GETTING AN APPOINTMENT I’M WORKING HERE,
’'M WORKING

GURIAN: WHEN ARE YOU COMING BACK?
LASSO: UGH.. NEXT MONDAY

GURIAN: JESUS CHRIST.. OK

LASSO: BYE

GURIAN: STAY IN TOUCH.. GOOD BYE

In a November 13, 2012 intercepted conversation with MasterCard customer
service, Gurian states that he is a gambler and that he uses a service to hide his
true IP address and make it appear as if his IP address originates in Canada, so
that he can access sports betting websites from the United States:

MASTERCARD: ALRIGHT, | WOULD BE HAPPY TO REVIEW THE
ACCOUNT.. WHAT IS THE DATE OF THE CHARGE YOU ARE CALLING
REGARDING?

GURIAN: 10-14 UH TRANSACTION DATE.. POSTING DATE, 10-16.. IT'S ON
MY STATEMENT AGAIN..
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MASTERCARD: OK AND WHAT IS THEY.. DO YOU THE UMM WEBSITE?

GURIAN: NO I JUST.. | WAS TRYING TO BUY A VPN FOR MY IPAD AND AND
UH | FOUND THESE GUYS ONLINE AND UNFORTUNATELLY | GAVE THEM
MY CREDIT CARD BECAUSE THEY, ! SAID | HAD TO BEFORE.. AND THEN
SINCE THAT POINT ON | HAVE NEVER BEEN ABLE TO GET ANYONE ON
THE PHONE.. THE SERVICE DOESN’T WORK AND THEY JUST KEEP
BANGING MY CREDIT CARD

3:43- 5:00: NON-PERTINENT .
MASTERCARD: IF | CAN START BY VERIFYING YOUR MAILING ADDRESS..

GURIAN: YEAH, IT’S 550 GOLDEN HARBOR DRIVE, BOCA RATON, FLORIDA
33432.

MASTERCARD: OK THANK YOU.. ALRIGHT AND THEN.. I'M GONNA GO
AHEAD AND SET UP THE UMM DISPUTE CASE.. | MAY JUST HAVE TO ASK
YOU A COUPLE OF THE SAME QUESTIONS THAT WE ALREADY WENT
OVER.. SO UMM.. LET ME TAKE A LOOK HERE.. NOW WHAT EXACTLY
WAS IT THAT YOU ORDERED, YOU SAID A VPN FOR YOUR CELL PHONE?

GURIAN: VPN FOR MY IPAD

MASTERCARD: OK AND WHAT DOES THAT ACTUALLY DO.. I'M NOT
FAMILIAR WITH THAT

GURIAN: IT’S UH.. A VPN MEANING THERE THERE’S SOME THERE’S
SOME WEB SITES THAT THAT AHH THAT THAT NEED TO BE ACCESSED
FROM SOMEBODY OUT OUTSIDE OF THE U.S. SO, LIKE | GAMBLE.. |
GAMBLE ON SPORTS SO | NEEDED, | NEEDED.. UGH UGH A VPN TO MAKE
IT LOOK LIKE THE ORIGIN.. THE ORGIN OF OF MY LOGS IN WERE FROM
CANADA... SO THEY OFFER A SERVICE THAT'S LIKE A HIDE MY IP
ADDRESS.. SO THEY OFFER THAT SERVICE WHICH | | SIGNED UP FOR
AND UH.. | HAVE BEEN UNABLE TO INSTALL IT THEY SENT ME
INSTRUCTIONS HOW TO INSTALL IT A FEW TIMES.. THE INSTRUCTIONS
DON’T WORK AND THEN WHEN | GET BACK TO THEM, HEY THIS DOESN'T
WORK, | NEED CUSTOMER SUPPORT, | NEED HELP.. | GET NOTHING AND
THEN AND THEN | KEEP GETTING BILLED AND THEN IT’S LIKE OK FOR
THE FIRST MONTH | SAID LOOK OBVIOUSLY YOU HAVE NO CUSTOMER
SUPPORT, NO PHONE NUMBER | SAID JUST STOP BILLING ME.. 1.1 NO
LONGER WANT THIS SERVICE AND THEN UHH.. AND THEN THEY
INSTRUCTED ME AS TO HOW | GET THEM TO STOP BILLING ME WHICH |
DID, 1 GOT THE BILL THE NEXT MONTH AND | SAID, HEY, | SAID | GOT
BILLED AGAIN | ASKED YOU TO STOP BILLING ME AND THEN UGH.. FROM
THAT POINT ON IT JUST YOU KNOW.. IT BECAME PRETTY OBVIOUS |
MEAN THAT THIS 1S JUST A CON..

MASTERCARD: OK
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MONEY LAUNDERING

12. Beginning on or about November 2009 and continuing through on or about
September 2012 within the Northern District of New York, and elsewhere, Gurian
and Lasso, did unlawfully, willfully and knowingly combine, conspire, confederate
and agree together and with each other, and with others known and unknown to
commit certain offenses under Title 18, United States Code, Sections 1956(h)
and 1956(a)(1)(B)(i), as follows:

a. Did knowingly and willfully conspire and agree with each other and with
others to conduct financial transactions knowing that they involved the
proceeds of a specified unlawful activity, specifically the conducting of an
illegal gambling business, in violation of Title 18, United States Code,
Section 1955, among others, and knowing that the transactions were
designed in whole and in part to conceal and disguise the nature, location,
source, ownership, and control of property that was the proceeds of
specified unlawful activity, contrary to Title 18, United States Code,
Section 1956(a)(1)(B)(i). In violation of Title 18, United States Code,
Section 1956(h).

13.Gurian and Lasso have generated proceeds from their illegal gambling business
which they have used to support their standard of living, acquire assets, and
deposit a portion of the proceeds into their personal financial accounts, as well as
financial accounts held in the names of their front companies and/or nominees.

14.From approximately November 2009 to September of 2012, Gurian and Lasso
caused to be deposited into bank accounts held in Lasso’s name as well as in
the name of Nigel Holdings, and other businesses currently known and unknown,
millions of dollars of gambling proceeds.

15.A review of bank records obtained during this investigation revealed that on
March 7, 2012 Lasso sent a $300,000 wire out of her personal Bank of America
Account ending 4932 to Nigel Holdings S.A. at the Caledonian Bank in the
Cayman Islands. In addition, from November of 2010 through June of 2012,
Lasso wired out in excess of $1.2 million dollars to Panama for which she was
the beneficiary. Those transactions are as follows:
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DATE AMOUNT BANK NAME
1. 11/24/10 $25,000 Banco General, S.A.
2. 02/01/11 $70,000 Banco General, S.A.
3. 03/25/11 $35,000 Banco General, S.A.
4. 06/03/11 $15,000 Banco General, S.A.
5. 06/09/11 $30,000 Banco Panama S.A.
6. 07/20/11 $90,000 HSBC Bank Panama S.A.
7. 04/24/12 $100,000 Banco General, S.A.
8. 05/10/12 $150,000 Banco Panama S.A.
9. 05/15/12 $400,000 Banco Panama S.A.
10 05/15/12 $300,000 Banco Panama S.A.
11. 06/28/12 $60,000 Banco Panama S.A.

Based on these transactions and the intercepted calls described above, Lasso
appears to be using foreign corporations and offshore accounts to launder the
proceeds of the internet gambling enterprise.

16.An analysis of financial records obtained during the investigation indicates that
Lasso has conducted transactions with conspirators involved in the illegal
gambling enterprise. The checks were deposited into a nominee account or into
business bank accounts or wired from Lasso’s Bank of America account in an
attempt to conceal and disguise the nature, location, source, ownership, and
control of property that was the proceeds of specified unlawful activity (the illegal
gambling business). Some of those transactions are as follows:

a. On August 4, 2010, Lasso made a check payable to cash in the amount of
$30,000. The check was endorsed by JV, a conspirator known to your
Affiant, and deposited in a Bank of America account that same day. These
funds are believed to be a payment for gambling debt owed to AG, another
conspirator known to your Affiant;

b. On October 30, 2010, Lasso made a check payable to cash for $52,482.55
which was deposited into AG’s business bank account held JP Morgan
Chase Bank on November 15, 2010;

c. On April 11, 2011, Lasso wrote a check payable to AG’s business for
$60,000.00 that was deposited on April 12, 2011into AG’s business bank
account held at JP Morgan Chase Bank;

d. On September 21, 2011, Lasso wrote a check payable to ML’s business,
a conspirator known to your Affiant, for $30,000.00. This check was
deposited into ML’s business bank account at Bank of America on
September 21, 2011;
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e.

On September 23, 2011, Lasso wrote a check payable to ML’s business
for $22,000.00. This check was deposited into ML’s business bank
account at Bank of America on September 23, 2011;

On July 5, 2012, Lasso wired $75,000 to MS, a gambler and bookmaker
known to your Affiant, which was deposited into MS’s bank account at
RBS Citizens in Albany, New York.

17.An analysis of financial records obtained during the investigation indicates that
Lasso has received payments from gamblers and conspirators involved in the
illegal gambling enterprise being administered by Gurian. The checks were
deposited into an account in her name or into business bank accounts in an
attempt to conceal and disguise the nature, location, source, ownership, and
control of property that was the proceeds of specified unlawful activity. Some of
these transactions are as follows:

a.

b.

On February 15, 2011, Lasso deposited a $90,000 check from ML’s
business into her Bank of American account ending 4932;
On March 25, 2011 Lasso deposited a $55,000 check from ML’s
business into her Bank of American account ending 4932;

On April 19, 2011 Lasso deposited a $50,000 check from ML’s business
into her Bank of American account ending 4932;

On May 2, 2011 Lasso deposited a $40,000 check from ML’s business
into her Bank of American account ending 4932;

CONCLUSION

18. Based on the foregoing, the undersigned respectfully submits that there is
probable cause to believe that PHIL GURIAN and MICHELE LASSO (Lasso)
alkfa MICHELE MARIE LASSO-BARRAZA (Lopez) committed money laundering
and conspiracy to commit money laundering in violation of Title 18 U.S.C.
Sections 1956(a)(1)(B)(i) and 1956(h).
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Theresa M. Allison
Special Agent

Internal Revenue Service,
Criminal Investigation

Sworn before me and subscribed in my presence

 
